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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS
WESTERN DIVISION
                                                     )
In re                                                )        Chapter 7
                                                     )        Case No. 18-30812-EDK
JOSEPH E. MADLIN                                     )
                               Debtor                )
                                                     )

              APPLICATION TO EMPLOY COUNSEL TO THE TRUSTEE

To the Honorable Elizabeth D. Katz, U.S. Bankruptcy Judge:


        The Applicant, Gary M. Weiner, Esq., of Weiner Law Firm, P.C., respectfully represents:


        1.     On September 19, 2018, Joseph E. Madlin (“Debtor") filed a Chapter 7 bankruptcy
               petition with this Court.


        2.     On or about September 19, 2018, the Applicant was appointed as the Chapter 7
               Trustee in this case and that he is the duly appointed and qualified Trustee in
               Bankruptcy in the above entitled proceedings.


        3.     Your Applicant requires the services of counsel for the following reasons:


               A.     To undertake appropriate legal action for sale of all assets in a commercially
                      reasonable manner as required by law and to commence any and all legal
                      actions required in connection therewith.


               B.     To prepare and execute all legal instruments required to effect sales of certain
                      of Debtor’s assets as may be allowed by the Court.


               C.     To undertake legal action as may be required to determine the perfection of
                      any and all secured claims in and to the assets or proceeds of the Debtors’
                      property and more specifically as set forth in the Debtors’ Schedules.
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          D.     To undertake legal action to recover voidable preferences and fraudulent
                 conveyances as may come to the attention of the Trustee.

          E.     To take legal action as may be required to defend the estate against claims for
                 reclamation of property or proceeds thereof of the Debtor(s) which may be
                 made by claimants thereto alleging rights superior to general creditors.


          F.     To take legal action as may be required to recover monies which may have
                 been paid by the Debtor(s) to various parties as may be recovered pursuant
                 to the Bankruptcy Code.


          G.     To commence legal action to collect outstanding accounts receivable as may
                 be required.


          H.     To conduct examinations of the Debtor(s) and various witnesses as to the
                 actions, conduct and property of the Debtor(s) herein.


          I.     To prepare numerous applications and reports, for which services an attorney
                 may be necessary.


          J.     To assist the Trustee when necessary in the investigation to discover all
                 possible assets and reduce the same to cash.


          K.     To undertake, as may be necessary, other actions required of counsel, upon
                 matters which may hereinafter become known to your Applicant in the usual
                 course of the administration of this estate.
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         4.    The firm of Weiner Law Firm, P.C. 1441 Main Street, Suite 610, Springfield,
               Massachusetts is comprised of attorneys qualified to act in these proceedings and said
               firm has no interest adverse to this Estate.


         WHEREFORE, your Applicant, Gary M. Weiner, prays that he may be authorized to employ
the said Weiner Law Firm, P.C. as counsel for the Trustee in these proceedings.




                                                      /s/ Gary M. Weiner, Esq.
                                                      Gary M. Weiner, Esq., BBO # 548341
                                                      WEINER LAW FIRM, P.C.
                                                      1441 Main Street, Suite 610
                                                      Springfield, MA 01103
                                                      Tel. No. (413) 732-6840
                                                      GWeiner@weinerlegal.com
                                                      Date: October 24, 2018
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS
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                                                        )
In re                                                   )        Chapter 7
                                                        )        Case No. 18-30812-EDK
JOSEPH E. MADLIN                                        )
                                 Debtor                 )
                                                        )


                AFFIDAVIT PURSUANT TO FRBP 2014(a) AND MLBR 2014-1

1.       I am an attorney duly admitted to practice in this Court and an attorney with the law firm of
         Weiner Law Firm, P.C., Attorneys at Law.

2.       Neither I nor any member of my firm holds or represents any interest adverse to the estate
         of the above-named debtor.


3.       My and my firm's connection with the debtor, any creditor, or other party in interest, their
         respective attorney and accountants is as follows: NONE. I am and each member of my firm
         is a "disinterested person" as that term is defined in 11 U.S.C. § 101 (14).


4.       I have not agreed to share with any person (except members of my firm) the compensation
         to be paid for the services rendered in this case, except as follows: NONE.


5.       I am not a relative of a judge of the U.S. Bankruptcy Court for the District of Massachusetts,
         nor a relative of the United States Trustee for said District.


6.       I have not received a retainer in this case.


7.       I shall amend this statement immediately upon my learning that (A) any of the within
         representations are incorrect or (B) there is any change of circumstance relating thereto.


8.       I have reviewed the provisions of MLBR 2016-1.
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I declare under penalty of perjury that the foregoing is true and correct.




                                               /s/ Gary M. Weiner, Esq.
                                               Gary M. Weiner, Esq., BBO # 548341
                                               WEINER LAW FIRM, P.C.
                                               1441 Main Street, Suite 610
                                               Springfield, MA 01103
                                               Tel. No. (413) 732-6840
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS
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                                                     )
In re                                                )        Chapter 7
                                                     )        Case No. 18-30812-EDK
JOSEPH E. MADLIN                                     )
                               Debtor                )
                                                     )

                                 CERTIFICATE OF SERVICE

       I, Gary M. Weiner, Esq. do hereby certify that on the 24th day of October, 2018, a copy of the
foregoing Application to Employ Counsel to the Trustee and Affidavit was mailed via first class mail,
postage pre-paid, or via electronic mail to the following:

Richard King, United States Trustee
USTPRegion01.WO.ECF@USDOJ.GOV

Debtor

Joseph E. Madlin
362 West Housatonic Street
Apt. 3C
Pittsfield, MA 01201


Debtor’s Counsel

Jack E. Houghton, Jr.
Jhoughtonjr@aol.com




                                                     /s/ Gary M. Weiner, Esq.
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS
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                                                     )
In re                                                )       Chapter 7
                                                     )       Case No. 18-30812-EDK
JOSEPH E. MADLIN                                     )
                               Debtor                )
                                                     )

         ORDER ON APPLICATION TO EMPLOY COUNSEL TO THE TRUSTEE

Upon consideration of the within Application to Employ Counsel to the Trustee, no adverse interests
having been represented and sufficient reason appearing to me therefor, it is hereby


ORDERED, that the Application of Trustee, Gary M. Weiner, of Weiner Law Firm, P.C. to employ
Weiner Law Firm, P.C. as counsel, be and is, hereby allowed. All compensation and fees will be
subject to Court approval.



Dated:

                                                     ____________________________
                                                     Honorable Elizabeth D. Katz
                                                     United States Bankruptcy Judge
